
Trammell:
This proceeding was instituted for the redetermination of a deficiency in income tax for 1921. The amount of loss resulting from petitioner’s dealing in wheat was not claimed or deducted on petitioner’s return, but is claimed in this proceeding for the first time.
FINDINGS OF FACT.
Petitioner is an individual residing at Minneapolis, Minn. On September 12, 1921, he purchased through Charles E. Lewis &amp; Co., of Minneapolis, 10,000 bushels of Minnesota wheat at $1.42½ or $14.225. On September 28, 1921, he purchased 10,000 bushels of wheat at $1.36½ or $13,625. On October 1, 1921, he purchased 10,000 bushels of wheat at $1.32¾ or $13,225, making a total of *1231$41,075. On October 5, 1921, the 80,000 bushels of wheat were sold, at $1.24% per bushel, or at an aggregate price of $37,425. The petitioner also paid a brokerage fee of $7.50 on the sale. He thus sustained a deductible loss of $8,657.50.
Judgment will be entered on 16 days’ notice, under Rule 60.
